Case 2:04-cr-20312-.]PI\/| Document 44 Filed 06/23/05 Page 1 of 2 Page|D 61

 

 

IN THE UNITED sTA'rEs DISTRICT coURT cause st
FoR THE wEsTERN DISTRICT 0F TENNESSEE _
WESTERN DIVISION 05 JUN 23 AH ti: bc
sessng se eggs-gp
UNITED sTATES 0F AMERICA, §_L§_"‘B‘F L?;;;; M’gt$ipmg
Plaimiff,
vs. cR. No. 04-20312
ARTHUR RUFFIN,
Defendant.

 

ORDER GRANTING DEFENDANT’S
MOTION TO CONTINUEl REPORT SETTING

 

This cause came on upon the motion of the Defendant to continue the report setting
scheduled for June 24, 2005 at 9:00 a.rn. For good cause shown, the Court hereby grants the
Defendant’s motion and waives counsel’s presence at this setting.

IT ls so 0RDERED this 530/2 day ofJune, 2005.

€ W O.Q@

J ' PH!PPS MCCALLA
ITED sTATEs DISTRICT JUDGE

 

This doct.ment entered on the docket sheet in compliance
with Rtt|e 55 and/or 32tbt FRCrP on " ‘

   

UNITED sTATE DISTRIC COUR - W'"RNTE D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-203 12 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Arthur Orlando Rufiin
WTDF

19834076

P.O. Box 509

i\/lason7 TN 38049

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

i\/lemphis7 TN 38103--238

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable S. Anderson
US DISTRICT COURT

